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                                      Patrick Paige
                                    December 10, 2019                            ·

       1                     UNITED STATES DISTRICT COURT

       2                     SOUTHERN DISTRICT OF FLORIDA

       3                      CASE NO. 9:18-cv-80176-BB/BR

       4
            IRA KLEIMAN, as the personal representative
       5    of the Estate of David Kleiman, and
            W&K Info Defense Research, LLC,
       6
                         Plaintiffs,
       7
            -vs-
       8
            CRAIG WRIGHT,
       9
                         Defendant.
      10

      11    * * * * * * * * * * * * * * * * * * *

      12    VIDEOTAPED DEPOSITION OF PATRICK PAIGE

      13    DATE TAKEN: December 10, 2019

      14    TIME: 11:07 a.m. - 12:45 p.m.

      15    PLACE: 250 Australian Avenue

      16    West Palm Beach, Florida 33401

      17
            TAKEN BEFORE: RICK E. LEVY, RPR, FPR
      18                  AND NOTARY PUBLIC

      19

      20    * * * * * * * * * * * * * * * * * * *

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       1    APPEARANCES:

       2    On behalf of the Plaintiff:

       3           KYLE ROCHE, ESQUIRE
                   VEL FREEDMAN, ESQUIRE (via phone)
       4           ROCHE FREEDMAN, P.A.
                   200 S. Biscayne Boulevard
       5           Suite 5500
                   Miami, Florida 33131
       6

       7    On behalf of the Defendant:

       8           BRYAN PASCHAL, ESQUIRE
                   ZALMAN KASS, ESQUIRE
       9           RIVERO MESTRE, P.A.
                   2525 Ponce de Leon Boulevard
      10           Suite 1000
                   Coral Gables, Florida 33134
      11

      12    On behalf of the Witness:

      13           BRUCE ZIMET, ESQUIRE
                   LAW OFFICE OF BRUCE ZIMET, P.A.
      14           250 North Australian Avenue
                   Suite 1400
      15           West Palm Beach, Florida 33401

      16

      17
            Also Present: Robert Doyle, The Videographer
      18                  Ira Kleiman, via phone

      19

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       1                                  - - -
                                         I N D E X
       2                                  - - -

       3    WITNESS:       DIRECT           CROSS     REDIRECT      RECROSS
            PATRICK PAIGE
       4    BY MR. PASCHAL:   4                           49
            BY MR. ROCHE:                     32                      54
       5

       6                                  - - -
                                      E X H I B I T S
       7                                  - - -

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       1                                   - - -
       2                THE VIDEOGRAPHER:       Good morning everyone.
       3          We're now on video record.        Today's date is
       4          December 10th 2019.       The time now is 11:07 a.m.
       5          Counsel, will you announce your appearances and the
       6          witness will be sworn in.
       7                MR. PASCHAL:     Bryan Paschal for Dr. Craig
       8          right.
       9                MR. KASS:     Zalman Kass for Dr. Craig Wright.
      10                MR. ROCHE:     Kyle Roche for plaintiffs.
      11                MR. ZIMET:     Bruce Zimet for the witness.
      12                MR. PASCHAL:     Do we have people on the phone?
      13                MR. ROCHE:     Can we have the people on the
      14          phone announce themselves?
      15                MR. FREEDMAN:      Vel Freedman for plaintiffs.
      16                MR. KLEIMAN:     Ira Kleiman, plaintiff.
      17                THE WITNESS:     Yes.
      18                                   - - -
      19    Thereupon,
      20                           (PATRICK PAIGE)
      21                             having been first duly sworn or
      22    affirmed, was examined and testified as follows:
      23                           DIRECT EXAMINATION
      24    BY MR. PASCHAL:
      25          Q.    Could you please state your name for the


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       1    record?
       2          A.    Patrick last name Paige, P-A-I-G-E.
       3          Q.    Mr. Paige, have you ever been deposed before?
       4          A.    Yes.
       5          Q.    How many times?
       6          A.    Many.
       7          Q.    So you understand how the deposition works?
       8          A.    Yes.
       9          Q.    So I'm not going to go over the basics.           Is
      10    there any reason preventing you from giving full
      11    complete testimony today?
      12          A.    No.
      13          Q.    Have you taken any medication that might alter
      14    your testimony?
      15          A.    No.
      16          Q.    Mr. Paige, what is your profession?
      17          A.    Computer forensic examiner.
      18          Q.    Do you work for a company?
      19          A.    Yes.    Computer Forensics, LLC.
      20          Q.    Is that a company that you have with Conrad?
      21          A.    Yes.
      22          Q.    When was Computer Forensics, LLC formed?
      23          A.    2012.
      24          Q.    Was David Kleiman a part of that company?
      25          A.    Yes.


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       1          Q.    What was your profession before?
       2          A.    I was a detective with the Palm Beach County
       3    Sheriff's Office.
       4          Q.    How long were a detective for?
       5          A.    About 11 years.      Maybe 12.    Total 26 years in
       6    law enforcement.
       7          Q.    Did you do something before law enforcement?
       8          A.    That was a long time ago.        Probably getting
       9    out of high school.       I worked at Winn Dixie.
      10          Q.    What school did you attend?
      11          A.    Boca Raton High.
      12          Q.    Did you attend college?
      13          A.    No.    Just some college classes.
      14          Q.    Where did you take those classes at?
      15          A.    Barry University.
      16          Q.    Earlier when you said you've been deposed many
      17    times was that as a law enforcement officer and as a --
      18          A.    Both.
      19          Q.    I was going to say also as an expert witness?
      20          A.    Yes.
      21          Q.    Do you hold any certifications?
      22          A.    Yes.
      23          Q.    What are they?
      24          A.    ENCE, NK Certified Examiner.         Couple other
      25    ones I just don't know off the top of my head.            SCERS is


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       1    another one, SCERS, Seize Computer Evidence Recovery
       2    Specialist.
       3            Q.   Do you recall about how many times you've been
       4    certified as an expert witness?
       5            A.   Dozens.
       6            Q.   Are those cases in Florida?
       7            A.   Florida, California, New York, Texas.          I don't
       8    recall all of them offhand.
       9            Q.   What does it mean to be a computer forensic
      10    analyst?
      11          A.     Basically it's the analyzing of data, computer
      12    data on cell phones and computers and interpreting the
      13    data.
      14          Q.     In your cases have you ever been retained to
      15    work on a case involving Bitcoin?
      16          A.     Yes.
      17          Q.     Could you tell me about that case.
      18          A.     Crypsi went into receivership in Miami and the
      19    law firm that handled the case the receiver hired our
      20    company to assist them in recovering data in that case
      21    and preserving data.
      22          Q.     So you have experience recovering data related
      23    to Bitcoin?
      24          A.     Yes.
      25          Q.     Mr. Paige, did you know David Kleiman?


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       1          A.     Yes.
       2          Q.     How did you know Mr. Kleiman?
       3          A.     First met him when I was a training officer --
       4    I was his training officer at the Palm Beach Sheriff's
       5    Office.
       6          Q.     Do you know what year that was?
       7          A.     That was in the '90s.
       8          Q.     What does it mean to be his training officer?
       9          A.     When you're a new recruit out of the academy
      10    you're assigned a training officer to assist in your
      11    training prior to being released on your own to patrol
      12    the streets.
      13          Q.     So you had to patrol with Mr. Kleiman during
      14    that time?
      15          A.     Yes, I taught him.      After he left the police
      16    academy he is assigned a training officer.            I think at
      17    that time it was 12 weeks where he spent two weeks with
      18    different training officers prior to being released on
      19    your own.
      20          Q.     Was David a close friend of yours?
      21          A.     Yes.
      22          Q.     Was David a person that you would characterize
      23    as being shy?
      24          A.     No.
      25          Q.     Would you characterize David as being timid?


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       1            A.   No.
       2            Q.   If somebody stole something from David would
       3    he say something about it?
       4                 MR. ROCHE:    Objection.
       5                 THE WITNESS:    Most likely.
       6    BY MR. PASCHAL:
       7            Q.   Did David have health issues?
       8            A.   Yes.
       9            Q.   What were those issues?
      10            A.   Ever since he was hit by a car and was
      11    paralyzed in the '90s he was wheelchair bound and he had
      12    continued health issues throughout his -- throughout his
      13    hive after that.
      14            Q.   Did those issues cause him to have to visit
      15    the hospital?
      16            A.   Yes.
      17            Q.   On how many occasions?
      18            A.   I don't recall offhand.       I have know several.
      19            Q.   Were there any hospital admissions that were
      20    long?
      21            A.   Yes.
      22            Q.   Do you know what years that would have been?
      23            A.   That would have been up until the time he
      24    passed away.       He was in the hospital, VA Hospital for
      25    like over two years.


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      1          Q.     Where was the VA Hospital located?
      2          A.     In Miami.
      3          Q.     Was he ever in the West Palm hospital?
      4          A.     Yes.
      5          Q.     Do you remember what those hospitals looked
      6    like?
      7          A.     What they look like?
      8          Q.     Yes.
      9          A.     They were the VA Hospital.         It's here in West
     10    Palm Beach.
     11          Q.     Did you ever visit Dave in the hospital?
     12          A.     Yes.
     13          Q.     How frequently?
     14          A.     Several times.
     15          Q.     Do you know if Ira Kleiman ever visited Dave
     16    in the hospital?
     17          A.     No, I do not know.
     18          Q.     Did Dave ever tell you that Ira Kleiman ever
     19    visited him in the hospital?
     20          A.     I don't recall.
     21          Q.     Do you know Ira Kleiman?
     22          A.     Yes.
     23          Q.     Did Dave ever talk about Ira Kleiman?
     24          A.     Not really.
     25          Q.     What type of relationship did Dave and Ira


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      1    Kleiman have?
      2           A.   I don't really know.
      3           Q.   Do you think Dave was close to Ira Kleiman?
      4           A.   He never mentioned him that much.          I know he
      5    mentioned that he was involved in computers but that was
      6    really that.     David generally kept to himself in his
      7    personal life.
      8           Q.   When David was a police officer -- back that
      9    up.    Did David ever tell you what was his profession
     10    before he became a police officer?
     11           A.   Yes.
     12           Q.   What was that?
     13           A.   He had mentioned he was a bouncer at a place
     14    called Symbols in Delray Beach.         He also did computers,
     15    freelance type work for computers, computer forensics
     16    and network.     He worked for some networking jobs prior
     17    to law enforcement.
     18           Q.   So how often would you speak with David?
     19           A.   I spoke to him a lot.
     20           Q.   Did David talk to you -- what type of topics
     21    would you talk about?
     22           A.   There was times when I would talk to him every
     23    morning basically.      He was close.      We were very close.
     24    We would talk sometimes on a daily basis for weeks on
     25    end.


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      1          Q.     Did David ever tell you that he had a large
      2    amount of Bitcoin?
      3          A.     No.
      4          Q.     Did David ever mention Bitcoin to you?
      5          A.     No.
      6          Q.     Did David ever tell you that he had a
      7    partnership or a business partnership with Craig Wright?
      8          A.     No.
      9                 MR. ROCHE:    Objection.
     10    BY MR. PASCHAL:
     11          Q.     Did he ever talk about Craig Wright?
     12          A.     Not that I can recall.
     13          Q.     Do you have knowledge of Dave's financial
     14    situation?
     15          A.     Yes.
     16          Q.     How do you have knowledge of his financial
     17    situation?
     18          A.     Based on what he had told me while he was
     19    alive.     He had been in the hospital for over two years.
     20    So he was having problems paying his bills.
     21          Q.     Do you recall what bills he was having
     22    problems paying?
     23          A.     I know for one at one time it was his cell
     24    phone bill.     He needed assistance paying his cell phone
     25    bill so I gave him money for that.


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      1          Q.    Did you ever help him pay anything else?
      2          A.    I gave him money.      I don't know what he did
      3    with it.    I would assume it would be to pay bills.
      4          Q.    Do you have any knowledge of Ira Kleiman
      5    giving him money?
      6          A.    No.
      7          Q.    Were you aware that Dave's house was being
      8    foreclosed?
      9          A.    I had heard mention of it, yes.
     10          Q.    Do you know the names of Dave's ex-wives?
     11          A.    I know one was Maria.       That's the only one I'm
     12    aware of.
     13          Q.    Did any of his marriages end -- do you know
     14    how any of his marriages ended?
     15          A.    Yes.
     16          Q.    How did that marriage end?
     17          A.    The one with Maria ended with her having an
     18    affair with a co-worker.
     19          Q.    The co-worker of -- that Dave was --
     20          A.    Co-worker of hers.
     21          Q.    Of hers?
     22          A.    Yes, hers.
     23          Q.    Did David go to the media to talk about that?
     24          A.    Did he what now?
     25          Q.    Did he ever go to the media to talk about


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      1    that?
      2            A.   Not that I recall.
      3            Q.   Did you know the names of any of his
      4    girlfriends?
      5            A.   I had met one -- I met a few but the only one
      6    I can recall was Lineda.
      7            Q.   Did Dave have girlfriends live with him?
      8            A.   Yes.
      9            Q.   Do you recall her name?
     10            A.   No, I do not.
     11            Q.   Do you know how long that girlfriend lived
     12    with Dave?
     13            A.   No, I don't.
     14            Q.   Did you know -- do you know that she had a
     15    child live there as well?
     16            A.   No.
     17                 MR. ROCHE:    Real quick Vel's having difficulty
     18            hearing on this phone.     Do you mind if I use my
     19            phone and just put it on speaker?
     20                 MR. PASCHAL:    No problem.     I don't know if it
     21            is going to cause feedback.       I don't know.
     22                 MR. KASS:    Just try it.     See what happens.
     23                 MR. ROCHE:    Vel, why don't you put your phone
     24          on mute and we'll see if my cell phone works
     25          better.


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      1                  MR. ZIMET:     Do you want to hang up the other
      2           one?
      3                  MR. ROCHE:     Ira is also on the line.
      4                  MR. ZIMET:     No problem.     I didn't realize
      5           that.
      6                  MR. PASCHAL:     Exhibit 1.
      7                  MR. ROCHE:     Do you want start back at 1?
      8                  MR. PASCHAL:     1.
      9                  (Deposition Exhibit No. 1 was
     10                  marked for identification.)
     11    BY MR. PASCHAL:
     12           Q.     Do you recognize the document I just handed
     13    you?
     14           A.     Yes, they look like e-mails involving me and
     15    Ira Kleiman.
     16           Q.     From Dex561@          .com is that Ira's e-mail?
     17           A.     Yes.
     18           Q.     Can you turn to -- there's two Bates I guess
     19    it was produced twice.         At the bottom it will be 2979.
     20           A.     Okay.
     21           Q.     Is this Ira e-mailing on February 15th 2014?
     22           A.     On February 16?
     23           Q.     I see 15 on mine.       279.
     24           A.     Yes.
     25           Q.     I think it's the beginning.
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      1          A.    I see an e-mail on February 18th and
      2    February 16th.      February 16th.
      3          Q.    Is there a page behind that?
      4          A.    Yes, February 15th.       You want me to go to the
      5    very first one on the last page?
      6          Q.    Yes.
      7          A.    Last page is blank.       This one?
      8          Q.    Yes, that's fine.
      9          A.    Okay.
     10          Q.    Second paragraph Ira is saying "I told him how
     11    Dave was in need of money and now I find it unlikely for
     12    him to not cash in some coins if they were of any
     13    value."
     14                MR. ROCHE:     Just we're having issues with the
     15          phone.    If you guys can speak a little louder so
     16          that Vel on the phone could hear that would be
     17          appreciated.
     18    BY MR. PASCHAL:
     19          Q.    Ira says he said it's possible he could have
     20    cashed them in while they were still of lesser value but
     21    he believes -- he being Dave had a lot of them.
     22          A.    Okay.
     23          Q.    Based on what you know from Dave's financial
     24    situation and knowing him for a long time did you
     25    believe that Dave had a substantial amount of Bitcoin?


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      1                 MR. ROCHE:     Objection.
      2                 THE WITNESS:     No.
      3    BY MR. PASCHAL:
      4          Q.     Could you go to the first page of this e-mail
      5    chain?
      6          A.     Yes.
      7          Q.     February 14, 2018 Ira e-mails you and he says
      8    "did you already finish searching the drives and cell
      9    phones that you have?"
     10          A.     Yes, I see it.
     11          Q.     Did you ever search any drives belonging to
     12    Dave or his cell phone?
     13          A.     They were encrypted so no.
     14          Q.     Is there a way to break that encryption?
     15          A.     No.    The devices were destroyed.        This
     16    particular device was damaged.          It was prior to us
     17    knowing anything about Bitcoins whether they were --
     18    whether he was even involved in it at the time.               So the
     19    cell phone was no longer available but when I first got
     20    the cell phone it was encrypted anyways.             So I wouldn't
     21    be able to crack the encryption that was on it.
     22          Q.     What about the hard drives?         When you say
     23    drives are you referring to hard drives?
     24          A.     Yes.
     25          Q.     Were you able to break the encryption on the


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      1    hard drives?
      2            A.   I don't even recall what that's about.          It's
      3    been so long.
      4            Q.   Would David Kleiman know how to encrypt a hard
      5    drive or a cell phone?
      6            A.   Yes.
      7            Q.   Was he very experienced in doing that?
      8            A.   He was an expert.
      9            Q.   Expert.   Did David ever tell you any of his
     10    passwords?
     11            A.   No.
     12            Q.   Did Ira ever ask you for David's passwords?
     13            A.   He may have.    I don't recall.
     14            Q.   Then you respond on February 20 at 11:00 a.m.
     15    and you ask Ira if he is planning on stopping by this
     16    week?
     17            A.   Is that at the top of the page?
     18            Q.   Yes, closer to the top.
     19            A.   Okay, yes, I see that.
     20            Q.   Do you know what that meeting was for?
     21            A.   No.
     22            Q.   Then the e-mail on top I'll just read that
     23    paragraph that says "Ira, for now I stored the drives on
     24    safety deposit box so they remain safe."           Do you know
     25    what he was referring to when he said that?


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      1          A.    I believe he was referring to drives that he
      2    recovered from Dave's house, his thumb drive and various
      3    hard drives that may have been recovered from Dave's
      4    house.
      5          Q.    Was he asking you to take a look at those
      6    drives?
      7          A.    I believe at one time he did but I never -- he
      8    never brought them over to us to look at.            We never did.
      9                MR. PASCHAL:     This will be number two.
     10                (Deposition Exhibit No. 2 was
     11                marked for identification.)
     12    BY MR. PASCHAL:
     13          Q.    Do you remember this e-mail chain?
     14          A.    It's been a long time.        No, I don't really
     15    remember off the top of my head.          It looks like it
     16    involves me.
     17          Q.    On the top of the first page you say -- you
     18    mention that Carter may have known two of Dave's
     19    passwords, the serial numbers of his guns.
     20          A.    Is this January 29th?
     21          Q.    Yes.
     22          A.    Yes, I see that.      I recall that.
     23          Q.    Is that based on Carter or did you have that
     24    same knowledge that --
     25          A.    That was based on Carter's knowledge.


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      1          Q.     Did Ira ever -- do you know if Ira ever found
      2    the serial number for Dave's guns?
      3          A.     No, I do not know.
      4          Q.     Also going down on the page Ira mentions true
      5    crypt -- a true crypt file?
      6          A.     Okay.
      7          Q.     Are you familiar with what a True Crypt file
      8    is?
      9          A.     Yes.
     10          Q.     What is a True Crypt file?
     11          A.     It's encryption software that allows you to
     12    encrypt data.
     13          Q.     Were you aware that Dave had a True Crypt --
     14          A.     He used all kind of encryption software.            It
     15    wouldn't surprise me that he would use that.
     16          Q.     Do you know how many computers Dave had?
     17          A.     Not offhand, no.
     18          Q.     Did he -- he had a thumb drive?
     19          A.     Yes.
     20          Q.     Can you describe that thumb drive?
     21          A.     He had -- it was a Corsair silver in color
     22    sort of indestructible thumb drive.           It was round.
     23    Screwed in top.
     24          Q.     Did he have that on him frequently?
     25          A.     He never went anywhere without it.


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      1          Q.    Do you know what he kept on that thumb drive?
      2          A.    I never saw the contents of it.
      3          Q.    Based on knowing Dave would you believe that
      4    whatever was on that thumb drive was important to Dave?
      5          A.    Yes, absolutely.
      6          Q.    Just to be clear did Dave ever tell you what
      7    was on that thumb drive?
      8          A.    No.
      9          Q.    Do you know the name of any of other Dave's
     10    close friends?
     11          A.    Yes, I know some of them.
     12          Q.    Could you tell me their names?
     13          A.    When you say close friends I mean are you
     14    talking about people that, you know, he was -- lived
     15    with or around here or -- a lot of his friends were, you
     16    know, around the world basically.
     17          Q.    Oh, like internet?
     18          A.    Internet.     A lot of them were that.        But, you
     19    know, he had a friend that would come over his name
     20    was -- I can't remember the name off the top of my head
     21    that used to live nearby.        He is now deceased.       I don't
     22    recall the name offhand.
     23          Q.    Was his name Jody?
     24          A.    Yes, Jody, that was his name.
     25          Q.    I won't ask about Jody.        When Dave Kleiman


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      1    went to the hospital I guess for the long stay do you
      2    know how he -- did someone call 911?
      3          A.    Yes, he had fallen in the shower and he had
      4    been there for a few days and his friend Jody found him
      5    in the shower and called Fire Rescue to come.
      6          Q.    Do you know how Jody died?
      7          A.    I know he had been really sick, flu related,
      8    pneumonia type stuff.
      9          Q.    Do you know when he died?
     10          A.    Probably like a year after Dave.          Just a
     11    guess.
     12                MR. PASCHAL:     Can we mark this I don't know
     13          what number we're on.       Is it 3?
     14                MR. ROCHE:     Yes, 3.
     15                (Deposition Exhibit No. 3 was
     16                marked for identification.)
     17    BY MR. PASCHAL:
     18          Q.    Do you recognize this e-mail?
     19          A.    Like I said it's been years.         Yea, looks like
     20    something I would write or was involved in.
     21          Q.    I just want to focus on -- so the second
     22    paragraph and the third paragraph.          You're aware of the
     23    value of Bitcoin at the time of Dave's death?
     24          A.    Yes.
     25          Q.    Did you look up the price of Bitcoin after you


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      1    learned Dave was potentially involved with Bitcoin?
      2          A.    I looked up the price at the time would have
      3    been of his death at the time.
      4          Q.    So if he had 300,000 Bitcoin at $100 for
      5    Bitcoin it means he would have hundreds of millions of
      6    Bitcoin if he had the Bitcoin, right?
      7          A.    Yes.
      8                MR. ROCHE:     Objection.
      9    BY MR. PASCHAL:
     10          Q.    Based on how well you know Dave police
     11    training officer, close friends did you ever believe
     12    that Dave Kleiman had hundreds of millions of dollars
     13    worth of Bitcoin?
     14                MR. ROCHE:     Objection.
     15                THE WITNESS:     No.
     16                MR. PASCHAL:     Mark this as 4.
     17                (Deposition Exhibit No. 4 was
     18                marked for identification.)
     19    BY MR. PASCHAL:
     20          Q.    This is an e-mail exchange you had with
     21    Patrick -- I mean Kimon Andreou.          I just want to ask you
     22    about the last sentence.        "We have had some luck
     23    recovering some wallets but now close to a million
     24    stolen?"
     25          A.    Yes, that in reference to the Crypsi case I


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      1    was helping them on.       Kimon was assisting in the
      2    information that was destroyed on a Lenox server.             He
      3    was trying to help me recover it.
      4                MR. PASCHAL:     This is going to be 5.
      5                (Deposition Exhibit No. 5 was
      6                marked for identification.)
      7    BY MR. PASCHAL:
      8          Q.    Towards the end of Dave's stay at the VA
      9    Hospital do you know how he left?
     10          A.    In my understanding he checked himself out.
     11          Q.    Do you think doctors authorized for him to
     12    leave?
     13          A.    Not based on the conversation I had with him.
     14          Q.    In the conversation you had with him what did
     15    he say?
     16          A.    He had enough.      He had been there long enough
     17    and he decided it was time for him to leave.
     18          Q.    Were you concerned?
     19          A.    Yes.
     20          Q.    Approximately how many times did you
     21    communicate, if you can recall, with Dave from the time
     22    that he checked himself out of the hospital until his
     23    death?
     24          A.    I would venture to say probably every day I
     25    tried to communicate with him.         I even made mention that


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      1    there was a time after a couple weeks had gone by that I
      2    was having problems getting a hold of him that I would
      3    text him and if he didn't answer my text I was going to
      4    come over there to his house to do a welfare check on
      5    him.
      6           Q.    Did you do a welfare check?
      7           A.    When he didn't answer text messages I
      8    contacted his girlfriend that lived in the same
      9    development as him who went over to the house and found
     10    him deceased.
     11           Q.    During the conversations that you had with him
     12    before he died did he ever indicate that he felt he was
     13    going to die?
     14           A.    No.   He just said that he was fighting off an
     15    infection.
     16           Q.    Just trying to understand the type of person
     17    that Dave was.      Was he someone that was planning for the
     18    future a lot?
     19                 MR. ROCHE:    Objection.
     20                 THE WITNESS:    I don't know.
     21    BY MR. PASCHAL:
     22           Q.    Was he very conservative with spending his
     23    money?
     24                 MR. ROCHE:    Objection.
     25                 THE WITNESS:    I don't know how to answer that


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      1          really.      Other than he would give you the shirt off
      2          his back.     If you needed money he would give it to
      3          you.    I don't know if you would call that
      4          conservative or foolish but that's just the way he
      5          was.
      6    BY MR. PASCHAL:
      7          Q.     Have you ever heard of W&K Info Research?
      8          A.     Yes.
      9          Q.     How did you hear about W&K?
     10          A.     When it showed up in a mailbox that was used
     11    by the company, Computer Forensics, LLC.
     12          Q.     Did Dave ever tell you about W&K?
     13          A.     No.
     14                 MR. PASCHAL:    This is already an exhibit but I
     15          guess let me mark this again.
     16                 MR. ROCHE:    Just for reference it's going to
     17          be two exhibit numbers.        Do you want to put
     18          separate stickers?       I'm fine with it.      I don't want
     19          to cover up the first sticker.
     20                 MR. PASCHAL:    Just put it somewhere else.
     21                 (Deposition Exhibit No. 6 was
     22                 marked for identification.)
     23    BY MR. PASCHAL:
     24          Q.     Could you turn to the other side of that
     25    exhibit?     Do you recognize the address that's on that?


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      1            A.   Yes.
      2            Q.   What is that address?
      3            A.   That's our former mailing address.
      4            Q.   In 2013 were you using that mailing address?
      5            A.   Yes.
      6            Q.   Would Dave have mail sent to that address?
      7            A.   Yes.
      8                 MR. PASCHAL:    I'm going to confer with him for
      9            a few minutes and wrap this up.
     10                 MR. ZIMET:    Sure.
     11                 THE VIDEOGRAPHER:     Going off the record.
     12                 (Thereupon, a brief recess was taken.)
     13                 THE VIDEOGRAPHER:     Back on the record.
     14                 MR. PASCHAL:    I'm going to ask you a few more
     15            questions because we just took the other deposition
     16            not sure if I asked the questions already just to
     17            make sure I have it.
     18                 MR. ZIMET:    Sure.
     19    BY MR. PASCHAL:
     20            Q.   Dave never told you that Craig Wright stole
     21    anything from him; right?
     22            A.   No.
     23            Q.   Dave never mentioned Bitcoin, I asked you
     24    that?
     25            A.   No.


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      1          Q.    Dave never said he had a business partnership
      2    with Craig Wright, right?
      3          A.    No.
      4          Q.    And Dave never said anything bad about Craig
      5    right?
      6                MR. ROCHE:     Objection.
      7                THE WITNESS:     No.
      8                MR. ROCHE:     You want to mark another copy of
      9          the complaint?
     10                MR. PASCHAL:     Mark it as Exhibit 7.
     11                (Deposition Exhibit No. 7 was
     12                marked for identification.)
     13    BY MR. PASCHAL:
     14          Q.    Do you recognize this document?
     15          A.    Yes.
     16          Q.    What is this document?
     17          A.    It is a lawsuit.       It was filed by Ira Kleiman
     18    against us.
     19          Q.    Could you turn to page 32 of that complaint?
     20                MR. ZIMET:     Paragraph 32.
     21                MR. PASCHAL:     Paragraph 32, sorry.
     22    BY MR. PASCHAL:
     23          Q.    You see in that paragraph Ira is alleging that
     24    Dave has Bitcoin wallets?
     25          A.    Okay, I see it.


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      1           Q.    You see that's a count for permanent
      2    injunction against you, Carter Conrad and Computer
      3    Forensics, LLC?
      4                 MR. ROCHE:     Object.
      5                 THE WITNESS:      I see that.     I don't know what
      6           that means.
      7    BY MR. PASCHAL:
      8           Q.    Mr. Paige, did you ever have any of Dave's
      9    Bitcoin?
     10           A.    No.
     11                 MR. ROCHE:     Objection.
     12    BY MR. PASCHAL:
     13           Q.    Base on defending that lawsuit did Ira have
     14    any basis to file that lawsuit against you?
     15                 MR. ROCHE:     Objection, calls for a legal
     16           conclusion.
     17                 THE WITNESS:      I don't know.
     18    BY MR. PASCHAL:
     19           Q.    Did he have any evidence to suggest that you
     20    had Dave's Bitcoin?
     21                 MR. ROCHE:     Objection.
     22                 THE WITNESS:      No.
     23    BY MR. PASCHAL:
     24           Q.    I met with you before, right?
     25           A.    Yes.


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      1           Q.    That meeting was because I wanted to know
      2    about Dave Kleiman?
      3                 MR. ROCHE:     Objection, leading.
      4                 THE WITNESS:      That was the gist of it, yes.
      5    BY MR. PASCHAL:
      6           Q.    Have plaintiff's counsel ever reached out to
      7    you?
      8           A.    Yes.
      9           Q.    How many -- on how many occasions?
     10           A.    I met with them once, I believe.
     11           Q.    What was discussed?
     12           A.    What we're discussing today essentially.
     13           Q.    This lawsuit?
     14           A.    Yes.
     15                 MR. ROCHE:     Objection.
     16    BY MR. PASCHAL:
     17           Q.    Do you remember what they were asking you?
     18           A.    I don't recall.
     19           Q.    And the information you may not know the
     20    information we discussed at our meeting was consistent
     21    with the information you told them?
     22                 MR. ROCHE:     Objection.
     23                 THE WITNESS:      Basically.     I don't really
     24           recall exactly what we discussed but it was
     25           basically the same premise.


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      1    BY MR. PASCHAL:
      2          Q.    Consistent with what you testified today?
      3                MR. ROCHE:     Objection.
      4                THE WITNESS:     Yes.
      5    BY MR. PASCHAL:
      6          Q.    When was that meeting?
      7          A.    I don't remember.
      8          Q.    Was it this year?
      9          A.    No.
     10          Q.    It was last year?
     11          A.    It could have been last year or the year
     12    before.    Maybe last year.      I don't really recall exactly
     13    when it was.
     14          Q.    Who else was in the meeting?
     15          A.    Ira was there.      Bruce Zimet was there and
     16    Carter Conrad I believe.
     17          Q.    Were lawyers present for Ira?
     18          A.    Velvel.
     19          Q.    You don't recall anything in particular from
     20    that meeting?
     21          A.    No.   Just essentially what we're discussing
     22    today.
     23                MR. PASCHAL:     I think we're done.
     24                MR. ROCHE:     Take a five minute break and then
     25          we'll finish up?


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      1                MR. ZIMET:     Of course.
      2                THE VIDEOGRAPHER:      We're off record.
      3                (Thereupon, a brief recess was taken.)
      4                THE VIDEOGRAPHER:      We are back on the record.
      5                         CROSS (PATRICK PAIGE)
      6    BY MR. ROCHE:
      7           Q.   Still technically good morning by two minutes.
      8    My name is Kyle Roche, I just have a few questions for
      9    you.
     10           A.   Sure.
     11           Q.   So we were talking about meetings between you
     12    and plaintiff's counsel and you and defense counsel.
     13           A.   Yes.
     14           Q.   When did the meeting between you and defense
     15    counsel occur?
     16           A.   That's a good question.        I don't really recall
     17    offhand.    I believe it was this year.
     18           Q.   You mentioned Bryan was at the meeting.           Do
     19    you recall who else was at the meeting?
     20                MR. PASCHAL:     Objection to form.
     21                THE WITNESS:     No, I don't.     It was a female.
     22           I don't know what her name was.
     23    BY MR. ROCHE:
     24           Q.   Then it was -- was your counsel Bruce at the
     25    meeting as well?


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      1          A.     Yes.
      2          Q.     And you said there was -- strike that.            What
      3    was discussed at that meeting?
      4          A.     Essentially what we're discussing today.
      5          Q.     Was there anything that you can recall that
      6    was not discussed today that was discussed at that
      7    meeting?
      8          A.     No.
      9          Q.     Did you have any written communications,
     10    e-mails with defense counsel?
     11          A.     No.
     12          Q.     I want to just go through some general
     13    background and your relationship with Dave.             When did
     14    you first meet Dave?
     15          A.     It was in the '90s.
     16          Q.     Okay.
     17          A.     When I was his field training officer.
     18          Q.     You were his field training officer in -- was
     19    that based in Florida or --
     20          A.     Palm Beach County Sheriff's Office, yes,
     21    Florida.
     22          Q.     How long were you in that office for?
     23          A.     I was with the sheriff's office for about 22
     24    or 23 years.
     25          Q.     When did you leave the sheriff's office?


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      1          A.     In 2011.
      2          Q.     Did you do computer forensics work while you
      3    were at the sheriff's office?
      4          A.     Yes.
      5          Q.     I believe and again this may be confusion
      6    between having two depositions right back to back but
      7    you testified that you went into business with Dave in
      8    2012?
      9          A.     Yes.
     10          Q.     Why did you decide to go into business with
     11    Dave?
     12          A.     We had always talked about going into
     13    business.     He did computer forensics in the private
     14    sector.    I did computer forensics in law enforcement so
     15    we quite regularly spoke in regards to computer
     16    forensics over the years.
     17          Q.     Can you describe your familiarity with Dave's
     18    technical expertise.
     19          A.     In reference to forensics?         I mean he was a
     20    nationally known expert in computer forensics, network
     21    administrator.      Extensive knowledge in all kinds of
     22    aspects of security involving computers.
     23          Q.     Can you identify what some of those aspects
     24    are just provide a little bit more detail on the
     25    security element?


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      1          A.     I don't recall exactly what certifications he
      2    held but I know he was just very knowledgeable in those
      3    areas.
      4          Q.     Do you recall how or did he ever tell you how
      5    he -- how he became so adept with computer forensics,
      6    computer security et cetera?
      7          A.     He had had computers all his life.           Most of
      8    his knowledge was self taught.          So -- as he became more
      9    proficient in it over the years he actually began
     10    teaching other people so he was also a computer
     11    instructor in many areas as well as a lot of the stuff
     12    he did was self taught.
     13          Q.     He was an owner of Computer Forensics;
     14    correct?
     15          A.     He was a partner.
     16          Q.     Partner?
     17          A.     Yes.
     18          Q.     There was three partners in Computer
     19    Forensics?
     20          A.     At the time when it was formed, yes.
     21          Q.     Were you a partner when it was formed or
     22    shortly after?
     23          A.     Shortly after I became a partner.
     24          Q.     How did you -- how did that come about?            Was
     25    it just a natural outgrowth of your previous


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      1    conversations or something else?
      2                MR. PASCHAL:     Objection to form.
      3                THE WITNESS:     Basically it was, you know, I
      4          did computer forensics.        We were all doing computer
      5          forensics in the private sector and he said you
      6          should be -- why don't you come -- it was the early
      7          stages of forming the company.         They had already
      8          filed the paperwork.       I was already working with
      9          them on cases.      So they just added me to the
     10          company directory so to speak.
     11    BY MR. ROCHE:
     12          Q.    Can you describe Computer Forensics' financial
     13    performance in 2012?
     14          A.    Specifically?
     15          Q.    How much revenue?
     16          A.    I don't recall offhand.
     17          Q.    More or less than $100,000?
     18          A.    In 2012?
     19          Q.    Yes.
     20          A.    I don't know.
     21          Q.    Could it have been more than $100,000?
     22          A.    Between all three of us?
     23          Q.    Between all three of you.
     24          A.    It may.    Could have.
     25          Q.    Do you recall Computer Forensics' performance


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      1    in 2013?
      2          A.     I don't recall numbers if that's what you're
      3    asking me.
      4          Q.     Was it about the same?
      5          A.     It was probably more.
      6          Q.     In his capacity as would you call Dave your
      7    business partner?
      8          A.     No, actually call him my best friend.           He was
      9    my business partner but he was my best friend.
     10          Q.     Was Dave your business partner?
     11          A.     Yes.
     12          Q.     In his capacity as your business partner did
     13    you find Dave to be a trustworthy person?
     14          A.     Yes.
     15          Q.     Did Dave honor agreements between -- that you
     16    had with him?
     17          A.     Yes, he was very fair.
     18          Q.     If you had an agreement with Dave not to
     19    access certain resources would you expect Dave to honor
     20    that agreement?
     21                 MR. PASCHAL:     Objection, form.
     22                 THE WITNESS:     Yes.
     23    BY MR. ROCHE:
     24          Q.     If Dave had an agreement with another
     25    individual to not access certain resources would you


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      1    expect Dave to honor that agreement?
      2          A.    Yes.
      3          Q.    Would you expect Dave to honor that agreement
      4    even if it was a substantial amount of money?
      5          A.    Yes.
      6          Q.    How often did you see Dave in 2013?
      7          A.    Quite often.     As far as seeing him or talking
      8    to him?    I mean I guess -- he was in the hospital.
      9          Q.    Seeing him.
     10          A.    I would visit him at the hospital so I didn't
     11    see him regularly if that's what you're asking.
     12          Q.    About how many times did you see him at the
     13    hospital in 2013?
     14          A.    I don't recall off the top of my head.
     15          Q.    But you spoke with him more frequently?
     16          A.    Yes.
     17          Q.    I believe you testified earlier you were aware
     18    of Dave's financial position in 2012 and 2013?
     19          A.    Yes.
     20          Q.    How did you become aware of Dave's financial
     21    position?
     22          A.    Just some casual conversations, hey, prior to
     23    months leading up to his death he didn't have enough
     24    money to pay his phone bill, his cell phone bill.
     25          Q.    He told you he didn't have enough money to pay


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      1    his phone bill?
      2          A.     Yes.
      3          Q.     Did he ask you for money to pay his phone
      4    bill?
      5          A.     Dave would never ask for money.          I just gave
      6    it to him.
      7          Q.     When -- again just an approximation,
      8    approximately how much time in 2013 did you -- did Dave
      9    spend in the hospital?
     10          A.     Probably all of it.       There was maybe an
     11    occasion where he would be out for a day or two.
     12          Q.     It was 2012 similar?
     13          A.     To my knowledge, yes.
     14          Q.     Did Dave have a computer with him in the
     15    hospital?
     16          A.     Yes.
     17          Q.     Did Dave have a cell phone with him in the
     18    hospital?
     19          A.     Yes.
     20          Q.     Did Dave work when he was in the hospital?
     21          A.     Yes.
     22          Q.     Did he work frequently when he was in the
     23    hospital?
     24          A.     Whenever he could.
     25          Q.     Whenever he could.       So Dave -- Dave passed


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      1    away April 2013; correct?
      2           A.    Yes.
      3           Q.    I believe you said this before but I just want
      4    to get the record clear who found Dave and can you
      5    describe the circumstances surrounding who found Dave?
      6           A.    Lineda found him after I had called her to let
      7    her know that he wasn't answering my texts.            She lived
      8    in the same development as him and so she drove over to
      9    the house.
     10           Q.    Was there an investigation into the
     11    circumstances surrounding Dave's death?
     12           A.    Yes, the police were called.
     13           Q.   Do you know what, if any, work -- forensic or
     14    investigation otherwise they did to investigate the
     15    cause of Dave's death?
     16           A.   Just what the autopsy had said that it was
     17    natural causes.
     18           Q.   Did they do a crime scene investigation of
     19    Dave's home?
     20           A.   I don't know.
     21           Q.   Do you know if they investigated any evidence
     22    of a bullet hole in Dave's bedroom?
     23           A.   I had only heard that that through I believe
     24    Ira.    I had not heard that from law enforcement.
     25           Q.   When did you hear that from Ira?


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      1           A.    After his death.       Soon after.
      2           Q.    Soon after?
      3           A.    Yes.
      4           Q.    In 2013?
      5           A.    Yes.
      6           Q.    Prior to Dave's death were you aware of an
      7    entity called W&K Info Defense Research, LLC?
      8           A.    No.
      9           Q.    When did you first become aware of this
     10    entity?
     11           A.    When a letter showed up in the mailbox that
     12    you had showed me earlier that's part of one of the
     13    exhibits.
     14           Q.    Did there come a time when Ira asked you to
     15    look for records relating to W&K?
     16           A.    There may have been.
     17                 MR. ROCHE:     Going to hand you Exhibit 8.
     18                 (Deposition Exhibit No. 8 was
     19                 marked for identification.)
     20    BY MR. ROCHE:
     21           Q.    This is an e-mail chain between you and Ira.
     22    The e-mail chain starts and ends March 24th 2016.                Do
     23    you recognize it?
     24           A.    Looks like I'm involved in the -- it's my
     25    e-mail address and everything.


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      1          Q.    Do you recognize Ira's e-mail address
      2    Dex561@            ?
      3          A.    Yes.
      4          Q.    If you go to the first e-mail chain on the
      5    second page of the document.        Ira asked "anyway there's
      6    another issue I was wondering if you could help me with
      7    trying to locate any documents related to the W&K biz
      8    Dave operated."     Does this refresh your recollection
      9    about when Ira reached out concerning documents related
     10    to W&K?
     11          A.    Yes.
     12          Q.    If we go to the end of this e-mail chain which
     13    is the top of the document it's from you same day
     14    March 24th it states "I've never seen any paperwork on
     15    the company.     The only thing we ever got was a postcard
     16    thing from the Australian government but it didn't
     17    contain any information."       What is the postcard thing
     18    you were referring to in this e-mail?
     19          A.    The thing that you showed me earlier.
     20          Q.    That I showed you or Bryan showed you?
     21          A.    Bryan showed me, excuse me.
     22                MR. PASCHAL:     Do you want a copy?
     23                MR. ROCHE:    I have a copy of it.       Do you have
     24          a copy out of the exhibit I believe it was -- why
     25          don't you put that exhibit in front of you.           Mark
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      1           this as exhibit 9.
      2                  MR. ZIMET:    The one we're looking at was
      3           marked as Exhibit 2 in Mr. Conrad's depo and now
      4           it's marked Exhibit 6 for this depo.
      5                  MR. ROCHE:    I'll refer to it as Exhibit 6.
      6                  MR. ZIMET:    Want the second page of it?
      7                  MR. ROCHE:    I'm going to mark a different
      8           exhibit first.
      9                  MR. ZIMET:    Okay.    Keep this one in front of
     10           him?
     11                  MR. ROCHE:    Keep it in front of him.
     12                  MR. ZIMET:    You done with eight?
     13                  MR. ROCHE:    Yes.
     14                  MR. ZIMET:    He has two exhibits in front of
     15           him.    One has two numbers, two and six and also
     16           this is number nine.         Okay.   Just so we're clear
     17           for the record.
     18                  MR. ROCHE:    Thank you.
     19                  (Deposition Exhibit No. 9 was
     20                  marked for identification.)
     21    BY MR. ROCHE:
     22           Q.     If we can take a look at Exhibit 9.           This is
     23    an e-mail -- another e-mail chain between you and Ira.
     24    The e-mail starts if you go to the third page on
     25    March 25th and it ends on the first page March 28th


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      1    2016.    So it's taking place roughly a day after the
      2    exhibit -- the e-mail chain in Exhibit 8.            Do you
      3    recognize this e-mail chain?
      4            A.   Yes.   I mean I know who these people are.
      5            Q.   If you look at the second page there is an
      6    e-mail you sent it's toward the top the e-mail at 1:40
      7    p.m. you write "what would App River support do for us.
      8    Also I found the original court mailing about W&K.              It
      9    has a case number.      See attached."
     10                 If you look the very next e-mail Ira responds
     11    at the header of the e-mail is on the first page 1:52 so
     12    ten minutes later "when did you find that W&K filing?"
     13    And you write back six minutes later 1:58 p.m.
     14                 MR. PASCHAL:    Do you have an extra copy?
     15    BY MR. ROCHE:
     16            Q.   Yes.   "I just found the filing today when I
     17    was looking for something else.         I was never contacted
     18    by anyone about W&K and I never heard of it."
     19                 So this series of e-mail exchanges was this
     20    the first time you informed Ira about receiving
     21    something from the Australian government?
     22            A.   Is this prior to the e-mails that we just
     23    discussed in prior exhibit?
     24          Q.     It's the day after.      Strike that.     Strike
     25    that.    Was this the first time you sent Ira what you


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      1    received from the Australian government?
      2          A.    Probably.
      3          Q.    If you could look at Exhibit 6 what's been
      4    previously marked as Exhibit 6 is that a copy of what
      5    you had received from the Australian tax authorities?
      6          A.    It appears to be.
      7                MR. PASCHAL:     Objection, form.
      8    BY MR. ROCHE:
      9          Q.    Prior to -- strike that.        Outside of this
     10    e-mail exchange had you discussed with W&K with Ira
     11    prior to March 2016?
     12                MR. PASCHAL:     Objection, form.
     13                THE WITNESS:     Not that I remember.
     14                MR. ROCHE:     Handing you what's been marked
     15          Exhibit 10.
     16                (Deposition Exhibit No. 10 was
     17                marked for identification.)
     18    BY MR. ROCHE:
     19          Q.    Do you recognize this e-mail exchange?
     20          A.    Yes.
     21          Q.    It's between -- well, strike that.          The e-mail
     22    exchange starts on February 12th 2014 and it's largely
     23    an e-mail exchange between you and Craig Wright and
     24    there's a few other individuals copied on various
     25    messages but is that an accurate characterization of the


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      1    e-mail?
      2           A.   Yes.
      3           Q.   I would like to if we can look at the first
      4    page ending in Bates stamp 3040 e-mail from Craig Wright
      5    to you and Craig states "I do not have a lot to give
      6    you.   These may help.      W&K Info Defense Research LLC,
      7    Geiser Trust                and            locations Belize.
      8    It is not much but then Dave always did things his way."
      9    Do you recognize any of these projects?
     10           A.   No.
     11           Q.   Do you recognize -- at the time Craig sent you
     12    this did you recognize any of these projects?
     13           A.   No.
     14           Q.   Did you know what Craig was referring to in
     15    this e-mail?
     16           A.   No.
     17           Q.   Did -- do you understand what Craig meant when
     18    he said "Dave always did things his way?"
     19           A.   Just that he had a way of doing things I
     20    guess.
     21           Q.   If you could go to the second page ending in
     22    41 Craig writes to you and he copies an Ira Kleiman
     23    8:04 p.m. "well, preservation is first.          The thing with
     24    a BTC address is that it will never disappear and if I'm
     25    right will appreciate over time."         You respond and say
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      1    "what about accounts in location DK had?           I thought you
      2    were going put a list together."          When you respond to
      3    Craig you don't copy in Ira.         Was there a reason you
      4    left Ira off the e-mail chain?
      5          A.     I think this was -- if I'm not mistaken it was
      6    a forward.     This is an e-mail chain between my and Craig
      7    Wright that was forwarded to Ira.          So therefore he
      8    wouldn't have ever been on it.
      9                 MR. ROCHE:    Got it.    Can we take a couple
     10          minute break and then come back and wrap up?
     11                 MR. ZIMET:    Sure.
     12                 THE VIDEOGRAPHER:     We're off the record.
     13                 (Discussion held off the record.)
     14                 THE VIDEOGRAPHER:     Back on the record.
     15    BY MR. ROCHE:
     16          Q.     When was the first time you were contacted by
     17    Craig?
     18          A.     I don't remember.
     19          Q.     Did you ever speak with Craig by phone?
     20          A.    Yes.
     21          Q.    Do you recall about when that was?
     22          A.    It was after Dave's death.
     23          Q.    Can you -- what did Craig tell you on that
     24    phone conversation?
     25          A.    I think there was maybe two calls, maybe it


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      1    was one.    It's been a while but he had just mentioned
      2    that -- first he had mentioned that Dave was involved
      3    in -- he wanted us to secure any hardware, computer
      4    equipment that he had.       He had made mention that Dave
      5    was the creator of Bitcoin.        He told me that on the
      6    phone.
      7          Q.    He said Dave was the creator of Bitcoin?
      8          A.    Well, he said it was a group of people but
      9    that Dave was involved in it.
     10          Q.    He called Dave a creator of Bitcoin?
     11          A.    I don't recall exactly.
     12          Q.    But he did -- on this call he mentioned that
     13    Dave was involved in the creation of Bitcoin?
     14          A.    Yes.
     15          Q.    Just switching gears here we talked a little
     16    bit prior about your experience with Dave and honoring
     17    agreements between you and him.         Would you based on your
     18    relationship with Dave expect him to honor an agreement
     19    even if he was in -- had fallen on tough financial
     20    times?
     21                MR. PASCHAL:     Objection, form.
     22                THE WITNESS:     Yes, he was very honorable.
     23                MR. ROCHE:     Okay.   No further questions.
     24                MR. PASCHAL:     I just have a few questions.
     25                MR. ZIMET:     Sure.


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      1                        REDIRECT (PATRICK PAIGE)
      2    BY MR. PASCHAL:
      3          Q.    I just want to clarify something.          Counsel
      4    spoke with you a second ago about Exhibit 6.
      5                MR. ZIMET:     Two and six?
      6                MR. PASCHAL:     Yes, that one.
      7                THE WITNESS:     Yes.
      8    BY MR. PASCHAL:
      9          Q.    He said the letter was from the Australian tax
     10    or ATO that stands for Australian tax authorities.               I
     11    want to clarify did that come from the Supreme Court of
     12    Wales or Australian Tax Office?
     13          A.    The Supreme Court of Wales, of New South
     14    Wales.
     15          Q.    Counsel had talked -- spoken to you about that
     16    exhibit.    This is already marked.
     17                MR. ZIMET:     Looking at what's marked as
     18          Exhibit 11.
     19                (Deposition Exhibit No. 11 was
     20                marked for identification.)
     21    BY MR. PASCHAL:
     22          Q.    Exhibit 11 is an e-mail exchange -- well, if
     23    you go to the second page 2956 the first e-mail is a do
     24    not reply from the UPS store to Dave Kleiman it says
     25    that his mailbox was due or to be renewed on March 11,


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      1    2014 and then it has the address
      2               , Palm Beach Gardens, Florida              .   Is that
      3    the same address that's on that envelope?
      4          A.    Yes.
      5          Q.    Then you forward that e-mail to Ira and you
      6    tell him that you don't think you're going to renew the
      7    mailbox.    You ask him if he wants to take it over.
      8          A.    Yes.
      9          Q.    Then Ira responds "I don't think there's any
     10    need to renew the mailbox."
     11          A.    Correct.
     12          Q.    "So far nothing has come from Bitcoin stuff."
     13    So Ira just didn't renew the mailbox?
     14          A.    I don't know whether he did or not but his
     15    response was in his e-mail here he says "I don't think
     16    there's any need to renew the mailbox."            Whether he did
     17    that or not I don't know.
     18          Q.    Were you still getting mail for Dave at that
     19    mailbox after Dave passed away?
     20          A.    I don't recall because I hadn't been checking
     21    it.
     22          Q.    But you weren't preventing Ira from accessing
     23    that mailbox; right?
     24                MR. ROCHE:     Objection.
     25                THE WITNESS:      No.
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      1    BY MR. PASCHAL:
      2          Q.    You wanted to turn it over to him?
      3          A.    Yes.
      4          Q.    Let me just ask you.       If Dave had suddenly
      5    come across a lot of money had he ever made comments how
      6    he was going to share it with you or some of his other
      7    close friends like for example --
      8          A.    I don't recall that ever happening.
      9          Q.    Like if he won the Lotto would he say if I won
     10    the Lotto I would share with you?
     11          A.    Yes, he probably would but that's just a
     12    guess.
     13          Q.    That's a guess based on how you know Dave?
     14                MR. ROCHE:     Objection.
     15                THE WITNESS:     Yes.
     16    BY MR. PASCHAL:
     17          Q.    So if Dave had $250 million just sitting there
     18    do you think he would have said you know here you go
     19    Patrick, here is some?
     20                MR. ROCHE:     Objection.
     21                THE WITNESS:     I don't really know what he
     22          would say to be honest with you.
     23    BY MR. PASCHAL:
     24          Q.    Do you think he would keep it to himself?
     25                MR. ROCHE:     Objection.


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      1                 THE WITNESS:     No.
      2    BY MR. PASCHAL:
      3          Q.     If there was some agreement that Dave would
      4    have billions of dollars in 2020 do you think he would
      5    have told you?
      6                 MR. ROCHE:     Objection.
      7                 THE WITNESS:     I don't believe Dave would have
      8          asked for money or complained about not being able
      9          to pay his bills or accept money from me or my
     10          business partner if he wasn't in dire need of
     11          money.    That's just my opinion.
     12                 MR. PASCHAL:     Just one last e-mail.        One more
     13          exhibit mark this as 12.
     14                 (Deposition Exhibit No. 12 was
     15                 marked for identification.)
     16                 MR. ROCHE:     Bryan, how does this relate to
     17          issues that came up on cross?
     18                 MR. PASCHAL:     We'll see in a second.
     19    BY MR. PASCHAL:
     20          Q.     So if you go to the last page of this e-mail
     21    exchange again that from Dex is that Ira Kleiman?
     22          A.     Yes.
     23          Q.     And he is sending it to you Patrick Paige?
     24                 MR. ROCHE:     I'm going to object to this line
     25          of questioning as outside the scope of cross.


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      1                THE WITNESS:     Yes.
      2    BY MR. PASCHAL:
      3          Q.    You see the date February 15, 2014?
      4          A.    Yes.
      5          Q.    Could you look at the second paragraph?
      6          A.    Yes.
      7          Q.    Ira says "I told him how Dave was in need of
      8    money and how I find it unlikely for him to not cash in
      9    some coins if they were of any value."           He and I'm
     10    assuming he is talking about Craig --
     11                MR. ROCHE:     Objection.
     12    BY MR. PASCHAL:
     13          Q.    -- said "it's possible that he could have
     14    cashed them in" and when he says he there is referring
     15    to Dave "could have cashed them in while they were still
     16    of lesser value but he believes he had a lot of them."
     17    Did Ira ever tell you that Craig was preventing Dave
     18    from using any of his Bitcoins?
     19                MR. ROCHE:     Objection.
     20                THE WITNESS:     No.
     21    BY MR. PASCHAL:
     22          Q.    And do you have any other basis to believe
     23    that Craig was somehow preventing Dave from using any of
     24    his Bitcoin?
     25                MR. ROCHE:     Objection.


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      1                THE WITNESS:     No.
      2    BY MR. PASCHAL:
      3          Q.    Just because you know Dave or you knew him do
      4    you think that someone could prevent Dave from using a
      5    substantial amount of his own money?
      6                MR. ROCHE:    Objection.
      7                THE WITNESS:     I don't know.
      8                MR. PASCHAL:     That's it then.
      9                MR. ZIMET:    Okay.
     10                MR. ROCHE:    One minute.     Can we take one
     11          minute and then we'll finish up?
     12                MR. ZIMET:    Promise?
     13                MR. ROCHE:    One to two questions max.
     14                THE VIDEOGRAPHER:      Off the record.
     15                (Discussion held off the record.)
     16                THE VIDEOGRAPHER:      Back on the record.
     17                       RECROSS (PATRICK PAIGE)
     18    BY MR. ROCHE:
     19          Q.    Just a few quick questions.        At the time of
     20    Dave's death and after Dave's death who controlled the
     21    Dave@                    e-mail?
     22                MR. PASCHAL:     Objection, form.      Just for the
     23          record this doesn't have anything to do with what I
     24          just asked.
     25                THE WITNESS:     I believe that mail was
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      1            forwarded or was being forwarded to
      2            Dave@                         at the time.    At the time
      3            of his death I believe it was going to Computer
      4            Forensics, LLC.
      5    BY MR. ROCHE:
      6            Q.   Okay.    Who controlled at the time of his death
      7    the Computer Forensics?
      8          A.     We did.    Myself and Carter Conrad.      Computer
      9    Forensics, LLC did.
     10            Q.   Who controls that e-mail address today?
     11          A.     We do.    Not -- Dave@              .com is
     12    controlled by Ira.      That was turned over to him and we
     13    have I believe it's still there but not really active is
     14    Dave@
     15          Q.     And when did you turn over the
     16    Dave@                 account?
     17          A.     I don't have the date.      It was in reference to
     18    the lawsuit that was filed against us by Ira.
     19          Q.     So it was after the lawsuit?
     20          A.     I wouldn't say after.      It was during.
     21          Q.     During?
     22          A.     Yes.
     23          Q.     After the initiation of the lawsuit?
     24          A.     After the initiation, yes.
     25          Q.     When did Ira first get access to that e-mail
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      1    address?
      2          A.     I don't have the date.        I don't know offhand.
      3                 MR. ROCHE:     No further questions.
      4                 THE WITNESS:     Sure.
      5                 MR. ZIMET:     He'll read.
      6                 THE VIDEOGRAPHER:      We're off record.       It's
      7          12:45 p.m.
      8                 MR. PASCHAL:     I'll order it as soon as
      9          possible.     Next 48 hours.
     10                 THE COURT REPORTER:       Do you want a copy?
     11                 MR. ROCHE:     Yes.
     12                            (Witness excused.)
     13                      (Deposition was concluded.)
     14
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      1

      2                     CERTIFICATE OF REPORTER

      3                 THE STATE OF FLORIDA

      4                 COUNTY OF BROWARD

      5

      6         I, Rick Levy, Registered Professional Reporter
           and Notary Public in and for the State of Florida at
      7    large, do hereby certify that I was authorized to
           and did report said deposition in stenotype of
      8    PATRICK PAIGE; and that the foregoing pages,
           numbered from 1 to 56, inclusive, are a true and
      9    correct transcription of my shorthand notes of said
           deposition.
     10
                I further certify that said deposition was
     11    taken at the time and place hereinabove set forth
           and that the taking of said deposition was commenced
     12    and completed as hereinabove set out.

     13         I further certify that I am not attorney or
           counsel of any of the parties, nor am I a relative
     14    or employee of any attorney or counsel of party
           connected with the action, nor am I financially
     15    interested in the action.

     16         The foregoing certification of this transcript
           does not apply to any reproduction of the same by
     17    any means unless under the direct control and/or
           direction of the certifying reporter.
     18
                IN WITNESS WHEREOF, I have hereunto set my hand
     19    this 10TH day of December 2019.

     20
                   _____________________________________
     21
                    Rick Levy, RPR, FPR, Notary Public
     22             in and for the State of Florida
                    My Commission Expires: 12/8/2023
     23             My Commission No.: GG937684

     24

     25


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      1                                 CERTIFICATE OF OATH

      2    THE STATE OF FLORIDA

      3    COUNTY OF PALM BEACH

      4

      5           I, Rick Levy, REGISTERED PROFESSIONAL REPORTER,

      6    Notary Public, State of Florida, certify that

      7    PATRICK PAIGE personally appeared before me on the

      8    10th day of December, 2019 and was duly sworn.

      9

     10                 Signed this 10th day of December, 2019.

     11

     12

     13

     14
                             _________________________________
     15
                                   Rick Levy, RPR, FPR
     16                            Notary Public - State of Florida
                                   My Commission Expires: 12/8/2023
     17                            My Commission No.: GG937684

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      1                   E R R A T A       S H E E T

      2    IN RE:    IRA KLEIMAN VS CRAIG WRIGHT

      3    DEPOSITION OF:      PATRICK PAIGE

      4    TAKEN: 12/10/2019

      5         DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE

      6    PAGE #    LINE #      CHANGE                    REASON

      7    _____________________________________________________

      8    _____________________________________________________

      9    _____________________________________________________

     10    _____________________________________________________

     11    _____________________________________________________

     12    _____________________________________________________

     13    _____________________________________________________

     14    _____________________________________________________

     15    _____________________________________________________

     16    _____________________________________________________

     17    Please forward the original signed errata sheet to
           this office so that copies may be distributed to all
     18    parties.

     19    Under penalty of perjury, I declare that I have read
           my deposition and that it is true and correct
     20    subject to   any changes in form or substance
           entered here.
     21

     22    DATE: ________________________

     23

     24    SIGNATURE OF
           DEPONENT:_________________________________
     25


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      1    DATE:         December 10, 2019

      2    TO:    BRUCE ZIMET, ESQUIRE
                  LAW OFFICE OF BRUCE ZIMET, P.A.
      3           250 North Australian Avenue
                  Suite 1400
      4           West Palm Beach, Florida 33401

      5    IN RE:        Ira Kleiman vs Craig Wright

      6    Dear Mr. Zimet:

      7    Enclosed please find the original errata page with
           your copy of the transcript so CARTER CONRAD may
      8    read and sign their transcript. Please have him/her
           make whatever changes are necessary on the errata
      9    page and sign it. Then place the original errata
           page back into the original transcript. Please then
     10    forward the original errata page back to our office
           @1080 Woodcock Road, Suite 100, Orlando, Florida
     11    32803.

     12    If the errata page is not signed by the witness
           within 30 days after this letter has been furnished,
     13    we will then process the transcript without a signed
           errata page. If your client wishes to waive their
     14    right to read and sign, please have him/her sign
           their name at the bottom of this letter and send it
     15    back to the office.

     16           Your prompt attention to this matter is

     17    appreciated.

     18    Sincerely,

     19    __________________________________
           RICK E. LEVY, RPR
     20
           I do hereby waive my signature:
     21
           ___________________________________
     22    PATRICK PAIGE

     23    cc via transcript:        Bryan Paschal, Esq.
                                     Kyle Roche, Esq.
     24    file copy

     25


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